       Case 2:25-cv-00190-MHH      Document 4      Filed 02/19/25     Page 1 of 10            FILED
                                                                                     2025 Feb-19 AM 10:00
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


 HEATHER LEE                                }
                                            }
        Plaintiff,                          }
                                            }
 v.                                         }    Case No.: 2:25-cv-00190-MHH
                                            }
 ALLY FINANCIAL, INC.                       }
                                            }
        Defendants.                         }
                                            }



                     HAIKALA CHAMBERS INITIAL ORDER

       The Court enters this order to help “secure the just, speedy, and inexpensive

determination” of this action. Fed. R. Civ. P. 1. The Court expects the parties to be

adversaries with respect to the substantive issues litigated in this action, but counsel

should cooperate in the litigation process in the spirit of Rule 1.

       The information contained in the sections that follow address these topics:

         I.   Initial Screening of the Complaint
        II.   Motions to Dismiss
       III.   Rule 26(f) Obligations/Draft Scheduling Orders
       IV.    Protective Orders
        V.    Communication with the Court
       VI.    Required E-Mail Submissions to Chambers
      VII.    Briefing Format and Requirements including AI Disclosures
      VIII.   Filing Procedures
       IX.    Fee Shifting Cases
        X.    Oral Argument
            Case 2:25-cv-00190-MHH        Document 4       Filed 02/19/25     Page 2 of 10




            XI.   Use of AI to Create Court Submissions

Please read this order closely; this initial order governs all proceedings in this case.*

      I.       Initial Screening of the Complaint

            The Court has reviewed the complaint, and the Court finds that it may exercise

jurisdiction over the subject matter of this action. The Court has an ongoing

obligation to assess subject matter jurisdiction. Univ. of S. Alabama v. Am. Tobacco

Co., 168 F.3d 405, 410 (11th Cir. 1999) (“[I]t is well settled that a federal court is

obligated to inquire into subject matter jurisdiction sua sponte whenever it may be

lacking.”); see also Burr & Forman v. Blair, 470 F.3d 1019, 1035 n. 38 (11th Cir.

2006). If, on motion from a party or on its own review, the Court determines that it

may not have jurisdiction over the subject matter of this action, then the Court will

give the parties an opportunity to address the jurisdictional issue.

      II.      Motions to Dismiss

            When a defendant files a motion to dismiss, the Court will enter an order that

sets either a briefing schedule or a hearing to discuss the motion.

            The Court often receives motions to dismiss that describe perceived

deficiencies in the factual allegations of a complaint. Under the Federal Rules of

Civil Procedure, a complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). A plaintiff


*
    This case is not governed by the Uniform Initial Order for the Northern District of Alabama.
                                                  2
      Case 2:25-cv-00190-MHH        Document 4      Filed 02/19/25    Page 3 of 10




may amend a complaint to address pleadings deficiencies that cause a complaint to

fall short of the requirements of Rule 8. A district court must “freely give leave” to

amend “when justice so requires.” FED. R. CIV. P. 15(a)(2). Accordingly, if counsel

for a defendant believes that factual allegations in a complaint do not meet Rule 8’s

notice requirement, then counsel for the defendant must confer with counsel for the

plaintiff before filing a motion to dismiss and ask counsel for the plaintiff to cure the

perceived deficiencies.

      If the plaintiff’s attorney agrees to amend the complaint, then the parties shall

file a notice advising the Court that they have conferred, and the plaintiff has opted

to file an amended complaint. The joint notice relieves the defendant(s) of the

obligation of responding to the original complaint. If, after conferring with the

plaintiff, the parties are not able to agree, and the defendant files a motion to dismiss,

then the defendant shall state on the first page of the motion that the parties conferred

before the defendant filed the Rule 12(b)(6) motion.

      The obligation to confer pertains only to Rule 12(b)(6) motions to dismiss

based on the sufficiency of the factual allegations in the complaint. There is no such

obligation for other motions to dismiss.

      This instruction does not apply to cases in which individuals are handling their

cases pro se without the assistance of an attorney.




                                            3
       Case 2:25-cv-00190-MHH           Document 4       Filed 02/19/25      Page 4 of 10




    III.   Rule 26(f) Obligations

       Within 14 days of the appearance of all defendants, the parties must confer

pursuant to Rule 26(f). 1 If this case involves more than one defendant and if, 90

days from the date on which the plaintiff(s) filed the complaint, the defendants have

not all been served and/or appeared, the parties shall file a joint notice advising the

Court of the status of the case.

       At least seven days before the parties conduct a discovery conference

pursuant to Rule 26(f), the parties shall exchange the initial disclosures that Federal

Rule of Civil Procedure 26(a)(1) requires. The Court asks the parties to please

exchange as much information as possible before the discovery conference to

facilitate better discussions during the discovery meeting.2

       The parties’ discussions during their Rule 26(f) conference shall cover the

following topics:

           • the nature of the claims and defenses, the complexity of the case, and
             the possibility of a prompt settlement or resolution of the case through
             formal mediation or informal settlement negotiations;

           • preservation of discoverable information;


1
  Rule 26(f)(2) provides: “[T]he court may order the parties or attorneys to attend the conference
in person.” FED. R. CIV. P. 26(f)(2). The Court does not require the parties to meet in person, but
the Court encourages the parties to conduct their Rule 26(f) conference in person or by video
conference.
2
  The Court recognizes that in some circumstances, a party may not be able to provide complete
initial disclosures before the Rule 26(f) conference. The parties must supplement initial
disclosures pursuant to Rule 26(e).
                                                4
       Case 2:25-cv-00190-MHH           Document 4        Filed 02/19/25     Page 5 of 10




           • a proposed discovery plan that briefly describes the parties’ positions
             and provides proposed deadlines for the matters addressed in sub-
             paragraphs (A) through (F) of FED. R. CIV. P. 26(f)(3); and

           • execution of authorization(s) for disclosure of “protected health
             information” in cases in which the provisions of the Health Insurance
             Portability and Accountability Act of 1996 (“HIPAA”), Pub. L. No.
             104-191, 110 Stat. 1936 (1996), and regulations promulgated under the
             Act, apply.3

       Within three days of the Rule 26(f) meeting, the parties must file a joint report

of their planning meeting. The report must include:

           • a brief description of the nature of the case;

           • a list of related cases or proceedings pending before another judge of
             this court or before another court or administrative body;

           • an indication of the parties’ assessment of the complexity of the case;
             and

           • an analysis of the case’s suitability for an early settlement conference
             or mediation.

Using the Word template at https://www.alnd.uscourts.gov/content/judge-madeline-

h-haikala,        the        parties        shall       email         to       chambers          at

haikala_chambers@alnd.uscourts.gov in Word a draft scheduling order that

provides proposed deadlines for discovery and dispositive motions and proposed



3
 If the parties require a HIPAA protective order, they may find a draft order at the Court’s website
at https://www.alnd.uscourts.gov/content/judge-madeline-h-haikala. The parties should tailor the
draft order to the needs of their case and email their draft protective order to the chambers email
address, haikala_chambers@alnd.uscourts.gov.


                                                 5
        Case 2:25-cv-00190-MHH      Document 4      Filed 02/19/25   Page 6 of 10




limits on the number of discovery requests. The Court will provide a date for a post-

discovery status conference.

   IV.     Protective Orders

        If the parties anticipate an exchange of information that is confidential or

proprietary, then the parties shall please email a draft protective order to chambers

at haikala_chambers@alnd.uscourts.gov in Word format. The parties shall please

include the following language in a proposed protective order:

        Any person who reviews or receives confidential material shall not
        disclose such information to any other person except as allowed by and
        in strict conformity with this Order. Attorneys of record shall advise
        all persons who are given access to confidential information of the
        terms of this order and shall have all persons who are given access to
        confidential information other than members of the attorneys’ staff sign
        a copy of this order to acknowledge their familiarity with the terms of
        the order and its binding force. Individuals who are shown confidential
        information shall not be allowed to retain copies and shall not use the
        confidential information for any purpose unrelated to this litigation.

   V.      Communication with the Court

        The Court may not engage in ex parte communications. If attorneys need to

contact        chambers,        they        shall       email        chambers         at

haikala_chambers@alnd.uscourts.gov and copy all counsel of record on the email.

   VI.     Required E-Mail Submissions to Chambers

        Counsel must e-mail to chambers in Word format copies of all filed motions

that exceed 10 pages, copies of all filed briefs, and copies of all proposed orders. All



                                           6
      Case 2:25-cv-00190-MHH       Document 4     Filed 02/19/25   Page 7 of 10




communications to the chambers email address must show a copy to all opposing

counsel.

   VII. Briefing Format and Requirements

      Documents that the parties file shall use Times New Roman Font and 14-point

font; footnotes may be in 12-point font.        Documents must be double-spaced;

footnotes and indented quotations that exceed three lines should be single-spaced.

      The party filing a motion shall indicate on the first page of the motion whether

the motion is opposed or unopposed and whether the party requests oral argument.

      Citations to the record shall refer to the CM/ECF document number, page

number, and paragraph or deposition line number, where available. Evidence cited

in a brief must be filed in CM/ECF before a party files a brief to enable the party to

cite to the evidence by CM/ECF document and page number. If a party cannot file

evidence electronically before filing a brief, then the party shall, within three days

of filing a brief, email to chambers (haikala_chambers@alnd.uscourts.gov) a Word

version of the brief with CM/ECF record citations.

   VIII. Filing Procedures

      a.     CM/ECF Record

      The official record of this case is maintained electronically in CM/ECF.

Except in extraordinary circumstances, all filings must comply with the Court’s

Administrative Procedures Manual. Attorneys must register for electronic filing and


                                          7
       Case 2:25-cv-00190-MHH           Document 4        Filed 02/19/25     Page 8 of 10




service through the “Attorney Registration” link on the Court’s website,

www.alnd.uscourts.gov.4 Pro se litigants who lack electronic access may file

documents conventionally in paper format.

       Documents filed through CM/ECF must be in .pdf (Portable Document

Format). Should counsel or a pro se litigant have trouble filing a document, (s)he

may call the Clerk’s Office at (205) 278-1700 and select option 3 for the Help Desk

for assistance.

       b.      Protected Information

       Counsel are reminded to please comply with the Court’s Administrative

Procedures Manual for electronic filing (on the Court’s website) with respect to

personal identifiers (e.g., Social Security numbers, driver’s license numbers, birth

dates, addresses, telephone numbers, bank account and credit card information) and

other personal or sensitive information, in compliance with the E-Government Act.

       c.      Sealing Documents

       If a party believes that information contained in a motion or an exhibit should

be placed under seal, then the party must file a motion for leave to file the document

under seal. If the Court grants the motion, the Court will review the information




4
  After an attorney has registered, his/her registration becomes permanent; (s)he is not required to
re-register in each individual case.
                                                 8
        Case 2:25-cv-00190-MHH     Document 4      Filed 02/19/25   Page 9 of 10




placed under seal. Upon review, if the Court is inclined to lt the seal partially or

entirely, then the Court will give the parties notice and an opportunity to be heard.

   IX.     Fee Shifting Cases

        The Court’s website contains standard orders for fee shifting cases. The

parties may access the Court’s website at http://www.alnd.uscourts.gov/content/

judge-madeline-h-haikala. Parties must comply with those orders if they plan to

seek an award of fees.

   X.      Oral Argument

        The Court welcomes oral argument. Requests for oral argument shall appear

on the first page of a motion or brief directly below the case number in the caption

of the pleading.

   XI.     Artificial Intelligence – Use of AI to Create Court Submissions

        Lawyers and pro se litigants who use technology like ChatGPT, Google Bard,

Bing AI Chat, or other generative artificial intelligence services to prepare

documents that the parties file in the record in this case are cautioned that generative

AI technologies sometimes may produce factually or legally inaccurate content. The

Court does not prohibit the use of AI, but to comply with Rule 11 of the Federal

Rules of Civil Procedure and other applicable legal and ethical standards, attorneys

and pro se litigants must review and verify computer-generated content to ensure

that it is accurate and complies with all such governing standards.


                                           9
      Case 2:25-cv-00190-MHH     Document 4     Filed 02/19/25   Page 10 of 10




      Conclusion

      Counsel of record shall instruct all attorneys who work on this case, including

in-house counsel, to review this order. The Court looks forward to working with the

parties on this case.

      DONE and ORDERED this February 19, 2025.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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